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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA


      UNITED STATES OF AMERICA

           v.                                             Case No. 19-20450-CR-Scola

                                                          EXPEDITED MOTION
      ALEX NAIN SAAB MORAN, et al.,

         Defendants.


                DEFENDANT’S EXPEDITED AND UNOPPOSED MOTION FOR
                   ENLARGEMENT OF BRIEFING PAGE LIMITATIONS

          Defendant Alex Nain Saab Moran (“Defendant” or “Mr. Saab”) respectfully submits this

  Motion and the attached order pursuant to L.R. 7.1(c)(2) seeking an enlargement of the page

  limitations with respect to the Parties’ upcoming briefing on the issue of diplomatic immunity.

  Further, as Mr. Saab’s opening brief is due on October 17, 2022, Defendant respectfully seeks,

  pursuant to L.R. 7.1(d)(2), expedited consideration by October 7, 2022, in order to utilize the

  Court’s ruling in preparation of his opening brief. Counsel for Mr. Saab has conferred with counsel

  for the government, who does not oppose the relief requested herein.

          Relief Requested. Counsel for Mr. Saab has conferred with counsel for the government,

  and proposes the following page limitations for the Parties’ respective papers:

          Defendant’s Opening Brief:           35 pages
          Government’s Opposition Brief:       35 pages
          Defendant’s Reply Brief:             17 pages
          Government’s Sur-reply Brief: 1      12 pages

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   “If, and only if, the Defendant’s reply raises issues not raised in the Government’s response to
  motion . . .” See Order, ECF No. 137 (Sept. 14, 2022).

  The Court has also scheduled post-hearing briefing from Mr. Saab and the government due on
  December 23, 2022. Mr. Saab suspects that the Parties may require additional space for
  presentation of that briefing, but does not make any specific request at this time pending the
  evidentiary hearing scheduled to begin on December 12, 2022. See Order, ECF No. 137 (Sept. 14,
  2022).
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         Expedited Consideration is Warranted. As noted above, Mr. Saab respectfully requests a

  ruling on this Motion on an expedited basis by October 7, 2022. Mr. Saab’s Opening Brief is due

  on October 17, 2022. In light of the nature of the issues and factual record to be developed, it is

  apparent that twenty pages, cf. L.R. 7.1(c)(2), will be insufficient. In order for counsel to continue

  preparation of the opening brief with the benefit of the Court’s ruling on this Motion, expedited

  consideration is warranted. See L.R. 7.1(d)(2). 2 In addition, this motion is submitted without

  opposition. Accordingly, no further briefing is necessary or pending.

         Page Enlargements are Warranted. This is a complex case, where the Defendant has

  asserted entitlement to diplomatic immunity that mandates prompt dismissal of the prosecution.

  These issues were first raised in January 2021, whereafter the case went to the Eleventh Circuit on

  the issue of fugitive disentitlement. Following briefing and appeal, the Eleventh Circuit remanded

  to this Court “to consider in the first instance whether Saab Moran is a foreign diplomat immune

  from prosecution.” Case No. 21-11083, Opinion at *6 (11th Cir. May 2, 2022). Further, as the

  Court of Appeals observed, “the parties did not have the opportunity to fully develop the record,

  and the district court did not have the opportunity to weigh the evidence. . . .” Id. at *5-6.

         To date, the Parties have already engaged in multiple rounds of motion practice including

  with respect to document discovery and witness appearances. This case will require extensive

  factual development, presentation of witness testimony, potential experts, and important issues of

  law that underpin the basis for dismissal. Indeed, the Court has set aside multiple days for the



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   Defendant is cognizant of the Southern District of Florida’s CM/ECF Administrative Procedure
  Rule 3I(1), which requires a party to submit the proposed document as a PDF attachment to the
  motion, but respectfully submits that good cause exists for the Court to consider this motion
  without the finalized opening brief, which is due October 17, 2022. Defendant seeks to make this
  Motion before the filing deadline to ensure Defendant may act in accordance with any page limit
  granted by the Court in a timely manner.


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  evidentiary hearing alone. It is anticipated that Defendant’s opening brief will include significant

  factual recitation, with many supporting exhibits to be summarized and explained.

         Because both the facts and the law must be developed thoroughly, the proposed relief is

  designed to do so, allowing both Parties sufficient opportunity to address the full scope of these

  factual and legal issues. Further, developing the written record will aid in having a more efficient

  and streamlined evidentiary hearing.

         WHEREFORE, Defendant respectfully requests that the Court enter an order granting the

  Parties excess pages for the upcoming diplomatic immunity motion to dismiss briefing as detailed

  herein and in the attached proposed order.

                 CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 88.9

         Undersigned counsel has conferred with counsel for the government pursuant to Local Rule

  88.9. Counsel for the government does not oppose to the relief requested herein.

  Dated: October 4, 2022

                                                               Respectfully submitted,

                                                               BAKER & HOSTETLER LLP

                                                               /s/ Lindy K. Keown
                                                               Lindy K. Keown (FL: 117888)
                                                               200 South Orange Avenue
                                                               Suite 2300
                                                               Orlando, Florida 32801
                                                               Tel: (407) 649-4000
                                                               lkeown@bakerlaw.com

                                                               /s/ David B. Rivkin, Jr.
                                                               David B. Rivkin, Jr. (pro hac vice)
                                                               Elizabeth Price Foley (FL: 92380)
                                                               Jonathan R. Barr (pro hac vice)
                                                               1050 Connecticut Avenue, N.W.
                                                               Suite 1100
                                                               Washington, DC 20036
                                                               Tel: (202) 861-1500
                                                               drivkin@bakerlaw.com


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                                                            efoley@bakerlaw.com
                                                            jbarr@bakerlaw.com


                                                            Jonathan B. New (pro hac vice)
                                                            45 Rockefeller Plaza
                                                            11th Floor
                                                            New York, New York 10111
                                                            Tel: (212) 589-4200
                                                            jnew@bakerlaw.com



                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on October 4, 2022, I electronically filed the foregoing with the

  Clerk of the Court by using the CM/ECF system, which will send a notice of electronic filing to

  all counsel of record.

                                                            /s/ Lindy K. Keown
                                                            Lindy K. Keown




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